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UNITED STATES DISTRICT COURT
Western District of Tennessee
western Division

Robert R. Di Trolio Melmphis 901-495~1200
Clerk of Court Fax 901-495-1250
Jackson 901-427-6586

Fax 901-427-9210

DATE: June 16, 2005

NOTICE TO ALL PARTIES

RE: CRIMINLL CASE NO. 05-20205-Ma
UNITED STATES OF AMERICA vs. CHRIS NEWTON

RULE 20 (Consent to Transfer of Case for Plea and
Sentence)

XX_ RULE 40 DOCUMENTS

Documents, as to the above-named defendant, have been received
from the USDC, Middle District of Tennessee (Nashville), on May
31, 2005. Please refer to document #10 in the case record.

Sincerely,

 

 

cc: Mag. Judge Casemgr.

101 Federal Building
109 South Highland Avenue
Jackson, Tennessee 38301

242 Federal Building
167 North Main Street
Memphis, Tennessee 38103

 

   

UNITED sTATE DRISTIC COURT - W'"ERNT D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20205 Was distributed by faX, rnail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Bryan H. Hoss

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Honorable J on McCalla
US DISTRICT COURT

